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8                                  UNITED STATES DISTRICT COURT

9                                SOUTHERN DISTRICT OF CALIFORNIA

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                                                           Case No.: 16cv2458-MMA(BLM)
11    CHARLES HOLMES,

12                                        Plaintiff,       ORDER RESETTING MANDATORY
                                                           SETTLEMENT CONFERENCE
13    v.

14    DR. ESTOCK, et al.,

15                                    Defendants.
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           This action was initiated on September 28, 2016 when Plaintiff filed a complaint alleging
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     violations of his constitutional rights under 42 U.S.C. Section 1983. ECF No. 1. Defendants
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     Estock, Ball, Chaiken, and Regules answered Plaintiff’s complaint on February 17, 2017 and on
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     February 22, 2017, the Court issued a scheduling order setting various pretrial deadlines and a
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     Mandatory Settlement Conference (“MSC”) for April 9, 2018. ECF Nos. 8-9.
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           The MSC and other pretrial deadlines were continued by the Court on December 1, 2017
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     [see ECF No. 20], February 2, 2018 [see ECF No. 24], February 16, 2018 [see ECF No. 28], and
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     May 14, 2018 [see ECF No. 42] after Plaintiff retained counsel, amended his complaint and
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     sought to reopen discovery, needed additional time to coordinate witness and expert
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     depositions, and had to wait for his expert to return from medical leave. ECF Nos. 20, 24, 28,
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     and 42. Following the last continuance request, the Court reset the MSC for November 9, 2018.
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     ECF No. 42 at 4.
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1                 On August 7, 2018, Defendant J. Clark Kelso filed a Motion Requesting Referral to Early

2    Settlement Conference and Stay of Litigation. ECF No. 61. Defendant Kelso requested that the

3    Court schedule a MSC prior to November 9, 2018 and that the Court stay all case deadlines

4    pending the completion of that conference. Id. at 2.

5                 On August 8, 2018, Plaintiff filed a statement of non-opposition to the motion. ECF No.

6    62. No other parties responded to the motion. See Docket.

7                 The Court denied the request to stay the case on August 10, 2018, but granted the

8    request to reset the MSC. ECF No. 63. The Court ordered the parties to file a joint notice with

9    the Court providing five dates on which all parties could attend an in person settlement

10   conference. On August 23, 2018, the parties filed the joint notice. ECF No. 69. Accordingly,

11   the Court hereby RESETS the MSC for September 19, 2018 at 9:30 a.m.1 No later than

12   September 10, 2018, the parties shall submit directly to Magistrate Judge Major's chambers

13   (via hand delivery or email address) confidential settlement statements no more than ten (10)

14   pages in length. These confidential statements shall not be filed or served on opposing

15   counsel. All other requirements and guidelines shall remain as previously set. See ECF No. 9.

16                IT IS SO ORDERED.

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18   Dated: 8/24/2018

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       Because Plaintiff is incarcerated in a penal institution or other facility, Plaintiff's presence is not
27   required at conferences before Judge Major, and Plaintiff may appear by telephone. Since
     Plaintiff is represented by counsel in this matter, his counsel is to coordinate Plaintiff's
28   appearance by telephone.

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                                                                                          16cv2458-MMA(BLM)
